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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                            Case No. 8:04-cr-94-T-23TGW

    JESSICA REYNOLDS
                                                        /


                                                     ORDER

           The document described below was received on July 5, 2005.

                   June 27, 2005, correspondence by Jessica Reynolds

    The Clerk is instructed to file the correspondence in the court file and forward copies to

    the United States Attorney, counsel for the defendant, and the probation office. The

    Clerk shall also send a copy of this order to the defendant.

           The defendant’s June 27, 2005, letter mailed directly to the district judge requests a

    reduction of her thirty-month sentence because the Bureau of Prisons cancelled the

    “bootcamp” program for which the district court recommended her.* Reynolds states that

    the “bootcamp” program was “cancelled due to funding.” However, the Bureau of Prisons’

    January 14, 2005, announcement of the termination of the “bootcamp” program states:

           There is a national trend among correctional agencies to phase out boot camp
           programs, as a result of many years of experience. The Bureau’s unpublished
           research confirmed the results of those who evaluated several state
           programs: completion of the boot camp program did not result in lower rates
           of recidivism as compared to offenders with similar background characteristics
           who did not participate in the program.




            *
             Local Rule 3.01(f) provides that: (1) all applications requesting relief shall be presented in
    appropriate form pursuant to Local Rule 1.05 (not in letter form) and (2) shall be forwarded to the Clerk of
    the Court (not to the assigned judicial officer).
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    In other words, “bootcamp” was not an effective, additional aid to inmates, although

    “bootcamp” costs more money than typical imprisonment. But, money was not the

    problem.

          Reynolds’ judgment is final, and the court is otherwise without jurisdiction to alter the

    terms of the judgment. To the extent that Reynolds’ letter is properly construed as a

    motion, the motion is DENIED.

          ORDERED in Tampa, Florida, on July 6, 2005.




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